c{$AO?458      Case
                 09/08)2:11-cr-20011-PKH
             (Rev.           in a CriminalCase
                       Judgment                     Document 49         Filed 12/01/11 Page 1 of 6 PageID #: 148
             SheetI



                                     UhITrEnSrarES DTSTRICT
                                                          COUNI
                      WESTERN                                Districtof                             ARKANSAS
         UNITEDSTATESOF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                            v.
                                                                   CaseNumber:                        2 : l l C R 2 0 0l l- 0 0 2
                   JESUSCORRAL
                                                                   USMNumber:                          I 0394-010

                                                                   Naif SamuelKhourv
                                                                   Defendttnt'sAttorney
THE DEFENDANT;
                                               on May26,201l
        guiltyto count(s) One(l) of theIndictment
X pleaded
E pleadednolo contendereto count(s)
  which was acceptedby the court.

n wasfoundguiltyon count(s)
  after a plea of not guilty.

The defendantis adjudicatedguilty ofthese offenses:

Title & Section                 Nature of Offense                                                     Offensclfudcd                 Count

2l U.S.C.$ 8al(a)(l) and                            Morethan500Gramsof Methamphetamine
                                        to Distribute
                                Conspiracy                                                               01t27t201|                  I
(bXlXAXviii)                    a Schedulell ControlledSubstance




       The defendantis sentencedas provided in pages2 through              of this judgment, The sentenceis imposedwithin the
statutoryrangeand the U.S. SentencingGuidelineswere consideredas advisory.

            hasbeenfoundnot guiltyon count(s)
I Thedefendant
n Count(s)                                          !   is                 on themotionof the UnitedStates.
                                                             E are dismissed

         It is orderedthatthedefendant                           attomeyfor thisdistrictwithin30 daysof anychangeof name,residence,
                                         mustnotifytheUnitedStates
or mailingaddress  untilall fines,restitution,                       imposed
                                            costs,andspecialassessments      by thisiudgment  arefultypaid.'lfordEred
                                                                                                                    to payrestitution,
thedefenEant    mustnotiflithecounandUnitedSiatesattorneyof materialchanges   in econom'iccircumstances.

                                                                   D e c e m h e1r. 2 0 1 I
                                                                   Dateof Imposition
                                                                                   of .Iudgment


                                                                   /S/ P.K. Holmes. III. United States District Juds.e
                                                                   SignatureofJudgc




                                                                   HonorableP.K. Holmes.lll. United StatesDistrict Judse
                                                                                'fitle
                                                                   Name and              of Judge



                                                                   f ) e c e r n b e r l 2 I0I
AO 2458             Case
               (Rev.09/08)  2:11-cr-20011-PKH
                                 in CriminalCase
                          Judsment                           Document 49       Filed 12/01/11 Page 2 of 6 PageID #: 149
               Sheet2 - Im
                                                                                                       .ludgment-Page   2   of

IJEFENDANT:                   JESUSCORRAL
CASENUMBER:                   2 : ll C R 2 0 0 l l - 0 0 2


                                                               IMPRISONMENT

                  is herebycommitted
       Thedefendant                                                                              for a
                                   to thecustodyof theUnitedStatesBureauof Prisonsto be imprisoned
totaltermof:    onehundredforty (140)months.The defendanthasbeenin federalcustodysinceFebruary?' 2011.




  X   Thecourtmakesthefollowingrecommendations to theBureauof Prisons:
      The defendantcomplete a drug treatmentprogram  while incarceratedat the Bureauof Prisons.
      The defendantbe placedclose-tohis family in Fort Smith, Arkansas.




  X   The defendantis remandedto the custodyof the United StatesMarshal.


  n   The defendantshall surrenderto the United StatesMarshal for this district:

      trat                                          tr a.m.       n p.m.       on
          tr    asnotifiedby theUnitedStatesMarshal,

      Thedefendant           for serviceofsentence
                shallsurrender                                             by theBureauofPrisons:
                                                 at theinstitutiondesignated

                 before I D,m.on

      n         asnotifiedby theUnitedStatesMarshal.

      tr                                or PretrialServices
                asnotifiedby theProbation                 Office.


                                                                     RETURN
I haveexecutedthis judgment as follows:




      Defendantdeliveredon

                                                         with a certified copy of this judgment.




                                                                                                      UNITEDSTATESMARSHAL


                                                                             By
                                                                                                   DEPUTYUNITEDSTATESMARSHNL
AO 2458        (Rev.Case    2:11-cr-20011-PKH
                    09/08)Judgment
                                 in a CriminalCase      Document 49          Filed 12/01/11 Page 3 of 6 PageID #: 150
               Sheet3 *      isedRelease
                                                                                                         Judgment-Page -l-       of        6
DEFENDANT:                    JESUSCORRAL
CASENUMBER:                   2:llCR200ll-002
                                                        SUPERVISEDRELEASE
Upon releasefrom imprisonment,the defendantshall be on supervisedreleasefor a term of :               five (5) years




    Thedefendant mustrepoflto theprobationofficein thedistrictto whichthedefendant        within72 hoursof releasefromthe
                                                                                is released
custodyof theBureauof Prisons.
Thedefendantshallnotcommitanotherfederal.stateor localcrime.
Thedefendantshallnotunlawfullyposse$s  a controlledsubstance.
                                                            Thedefendant  shallrefrainfrom anyunlawfuluseof a controlled
substance,Thedefendantshallsribinitto onedrugtestwithin l5 daysof release
                                                                        from imprisonment  andat leasttwo periodicdrugtests
thereafter,
         asdeterminedby thecourt.
11 Theabovedrugtestingconditionis suspended,   basedon thecoutt'sdetermination thatthedefendantposesa low riskof
                        abuse.(Check,if applicable.)
           futuresubstance
X                    shallnotpossess
           Thedefendant            a firearm,ammunition,
                                                      destructive                         weapon.(Check,if applicable.)
                                                                device,or anyotherdangerous

X          Thedefendant shallcooperate in thecollectionof DNA asdirectedby theprobationofficer. (Check,if applicable,)
           'Ihe                                                         agencyin thestatewherethedefendant         works,or is a
                                                                                                            resides,
 n                      shallregisterwith thestatesexoffenderregistration
                defendant
           student,asdirectedby theprobationofficer. (Check,ifapplicable,)
           'Ihe                                       programfor domesticviolence.(Check,if applicable.)
 n                      shallparticipate
                defendant               in an approved
   If thisiudgment
                 imposes                                                    release
                                               it is a conditionof supervised
                           a fineor restitution,                                                payin accordance
                                                                                  thatthedefendant            with the
Scheduleof Palmentsslieetof thisjudgment.
                mustcomplywith thestandard
     Thedefendant                                 thathavebeenadoptedby thiscourtaswell aswith anyadditionalconditions
                                         conditions
             page.
on theattached

                                        STANDARD CONDITIONS OF SUPERVISION
     l)     the defendantshall not leavethe judicial district without the permissionof the couft or probationofficer;
     2)     the defendantshall report to the probationofficer and shall submit a truthful and completewritten report within the first five daysof
            eachmonth:
     3)     the defendantshall answertruthfully all inquiriesby the probationofficer and follow the instructionsof the probationofficer;
     4)     the defendantshall supporthis or her dependentsand meet other family responsibilities;
     5)'    the defendantshall work regularly at a lawful occupation,unlessexcusedby the probatiottofficer fbr schooling,training, or other
            acceptablereasons;
     6)     the defendantshall notiff the probatiorrofficer at leastten daysprior to any changein residenceor employment;
     7\'    the defendantshall refrain from excessiveuseofalcohol and shall not purchase,possess,use,distribute,or administerany
            controlledsubstanceor any paraphernaliarelatedto any controlledsubstances, eicept as prescribedby a physician;
     8)                                                                  are illegally sold, used,distributed,or administered;
            the defendantshallnot frequentplaceswhere controlledsubstances
     9)'    the defendantshallnot associatewith any personsengagedin criminal activity and shall not associatewith any personconvictedof a
            felony,unlessgrantedpermissionto do s"o'bythe pro6aiionofficer;
 l0)'       the defendantshall permit a probationoffrcerto visit him or her at any time at home or elsewhereand shall permit confiscationof any
            contrabandobservedin plaii view ofthe probationofficer;
 I l)       the defendantshallnotifo the probationofficer within seventy-twohoursof being aruestedor questionedby a law enforcementofficer;
 l2)'       the defendantshall not enter into any agreementto act as an informer or a specialagent of a law enforcementagencywithout the
            permissionof the court; and
 l3)'       asdirectedbv the probationofficer. the defendantshallnotifu third partiesof risksthat rnaybe occasionedby the defendant'scriminal
            record or peisonalhistory or characteristicsand shall penirit the'probation officer to make such notificationsand to confirm the
            defendant"scomnliancewith suchnotification requirerrrent.
AO 2458       Case
           (Rev.      2:11-cr-20011-PKH
               06/05)Judgrnent
                             in a CriminalCase   Document 49          Filed 12/01/11 Page 4 of 6 PageID #: 151
           Sheet3C - Supervised
                              Release
                                                                                                 Judgment-Page -4-       of -0-
DEFENDANT:              JESUSCORRAL
CASENUMBER:             2:l lCR200ll-002

                                    SPECIAL CONDITIONSOF SUPERVISION


L    In additionto the mandatorydrug testingrequirements,   the defendantshall comply with any referraldeemedappropriateby the U'S'
                                                   evaluation,treatment,counselingor testinglbr substanceabuse.
     ProbationOfficer for in-pat'ientolrout-p-atierit

2.   The defendantshall submithis person,residence,placeof employment,and vehicleto a searchconductedby the United States
                                                            madnefbaseciupon reasonablesuspicionof evidenceof violation of any
     ProbalionOffice at a reasonablitime ind in a reas'onable
                    'Failure release.The defendantshall warn any otherresidrintsthat their premisesmay be subjectto searchpursuantto
     conditionofsupervised
     this condition.        to submitto a searchmay be grounds-forrevocalion.
n() 24sB   (Rev.Case    2:11-cr-20011-PKH
                             in a CriminalCase
                09/08)Judgment                    Document 49               Filed 12/01/11 Page 5 of 6 PageID #: 152
           Sheet5 - CriminalMonetarvPenalties
                                                                                               Judgmcnt* Page       5   of -6-
DEFENDANT:                    JESUSCORRAL
CASENUMBER:                   2:l lCR200lI -002
                                        CRIMINAL MONETARY PENALTIES
      The defendantmust pay the total criminal monetarypenaltiesunderthe scheduleof paymentson Sheet6,


                   Assessmcnl                                        Fine                             Rcstilulion
TOTALS           $ r00.00                                          $ 5,000.00                       $ -0-


 tr                  of restitutionis deferreduntil
      Thedetermination                                             An Amended Judgment in a Criminal Case(AO 245C) will be entered
      aftersuchdetermination,

 X              mustmakerestitution(includingcommunity
      Thedefendant                                              to thefollowingpayeesin theamountlistedbelow.
                                                     restitution)

      If thedefendantmakesa par-tialpayment,eachpayeeshallreceiveanapproximale_ly
                                                                                plopo4igllg4P.ayment,                      in
                                                                                                                   otherwise
                                                                                                     r1n[ess,spgc.ifiea
                                          coluninbelow. However,puiduant
      thepriorityorderor perc'entagg'pa-yment                                                               victimsmustbepald
                                                                         to l8 U.S.C.$ 3664(l),all nonf'ederal
      bef<irethe'UnitedStatesis paid.

Nameof Parcc                             Total Loss*                         RestitutionOrdered                 Priority or Perccnlagg




TOTALS


 I    Restitution                   to pleaagreement$
                amountorderedpursuant

 !    Thedefendant  mustpayintereston restitutionanda fineof morethan$2,500,unlesstherestitutionor fine is paidin full beforethe
      fifteenthdayafterthedateof thejudgment,pursuant  to l8 U.S.C.$ 3612(f).All of thepaymentoptionson Sheet6 maybesubject
      to penalties
                 fbr delinquency
                               and         pursuant
                                    default,       to  I I U.S,C,$ 3612(g),

X     Thecourtdetermined             doesnot havetheabilityto payinterestandit is orderedthat;
                       thatthedefendant

      X                        is waivedfor the
           theinterestrequirement                       X       fine   n   restitution.

       I   theinterestrequirement
                               for the     n     fine       !               is modifiedasfollows:
                                                                  restitution


 * Findingsfor thetotalamountof losses                      109A,I 10,I l0A, andI l3A of Title I I for offenses
                                     arerequiredunderChapters                                                 committed
                                                                                                                      onor aller
 Septemb-er 13,1994,butbeforeApril23, 1996.
AO 2458        CaseJudgment
          (Rev.09/08) 2:11-cr-20011-PKH
                            in a CriminalCase            Document 49      Filed 12/01/11 Page 6 of 6 PageID #: 153
          Sheet6 - Schedule
                         of PaYments
                                                                                                     - Page
                                                                                               Judgment           6     of -0-
DEFENDANT:                 JESUSCORRAL
C A S EN U M B E R :       2 : l l C R 2 0 0ll- 0 0 2

                                                        SCHEDULEOF'PAYMENTS

Havingassessed
            thedefendant's                                                      aredueasfollows;
                        abilityto pay,paymentof thetotalcriminalmonetarypenalties

A     X   Lumpsumpaymentof $             5 r00,00                        balance
                                                            dueimmediatelv.    due

          n    not laterthan                                   'of
          X    in accordance           nc, nD, tr               E, or    X F below; or

 B    n                         (maybe combined
               to beginimmediately
          Payment                             with                      n C,    I D, or   I F below);or

C     !   Paymentin equal                    (e.g.,weekly,monthly,quarterly)installments
                                                                                       of $                  over a periodof
                          (e.g.,monthsor years),to conrmence           (e.g.,30 or 60 days)afterthedateofthisjudgment;  or

 D    n   Payment in equal               (e.g.,weekly,monthly,quarterly)installments
                                                                                   of $                 overa periodof'
                      (e.g.,monthsor years),
                                           to commence             (e.g.,30 or 60 days)
                                                                                      after      from
                                                                                           release    imprisonmentto a
                            or
          termoI supervlsron;

      !   Paymentduringthetennof supervised
                                          release
                                                will commencewithin            (e.g.,30 or 60 days)afterreleasefrom
                      Thecoultwill setthepaymentplanbasedon anassessment
          imprisonment.                                               of thedefendant'sabilityto payat thattime;or

                          regarding
      X Specialinstructions                                   penalties:
                                  thepaymentof criminalmonetary

          If notoaidimmediatelv.     anyunpaidfinancialpenaltvimposed   shallbepaidduringtheperiodof incarcerationat a rateof not less
                                          o'fitreaefendinfts
          ihill;t5.0d';iii-il,iiiu.'orldoZo                 quirterlyearnines,wh'ichever
                                                                                       is-greatbr.
                                                                                                Afterincarceration,anyunpaidfinancial
          iienuttvstiattllecomdhspecialconditionof supervised     release                                   of not lessthdnl0% of the
                                                                        anilriraybepaidinhonthly installments
          tifendanl;inii monitrtv'trouiehold    income,britin no caselessthan$ 100.00permonth,with theentirebalance to bepaidin full one
          monthpriorto thetermjnation     of supervisedrelease.

Unlessthe courthasexnresslvorderedotherwise,if this iudgmentimposesimprisonment,paymentof criminalmonetarypenaltiesis dueduring
imprisonment. All cfimina'l monetarypenalties,excEptIhose palments riradethrough the Federal Bureau of Prisons' Inmate Ftnanctal
Re'sponsibilityProgram,are madeto tfie'clerk of the coirrt.

The defendantshall receivecredit for all paymentspreviouslymadetoward any criminal monetarypenaltiesimposed.




 n    Joint and Several

      Defendantand Co-DefendantNamesand CaseNumbers(including defendantnumber),Total Amount, Joint and SeveralAmount,
      and correspondingpayee,if appropriate.




 tr             shallpaythecostofprosecution.
      Thedefendant

 n Thedefendantshallpaythefollowingcourtcost(s);
 !    Thedefendant                      interestin thefollowingpropeftyto theUnitedStates:
                shallforfeitthedefendant's




 Pavments   shallbeanuliedin thefollowinsorder:(l) assessment,
                                                             (2) restitution                               (4) fineprincipal,
                                                                           principal,(3) restitutioninterest,
 (5I fine interest,
                  (6)'cbmmunityrestitutiofl,          and(8) costs,includinfcostbf prosecution
                                          (7) pedalties,                                        andcourtcosts.
